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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division



NEW RAVENNA, LLC,
Plaintiff,


v.                                                           Case No. 24-cv-00172


MOZAICO, INC.,
Defendant.
Serve:




                                        COMPLAINT

         Plaintiff New Ravenna, LLC (“Plaintiff” or “New Ravenna”), by and through its

attorneys, for its Complaint against Defendant Mozaico, Inc. ("Defendant" or “Mozaico”),

alleges as follows:

                               PRELIMINARY STATEMENT
         1.    New Ravenna brings this action seeking monetary and injunctive relief for

Defendant's intentional infringement of New Ravenna’s copyrighted mosaic tile designs that it

sells for installation in customers’ homes through a national and international distributor

network.

         2.    Defendant Mozaico also sells mosaic tile designs, but instead through various e-

commerce websites, such as Amazon, Houzz, Etsy, and its own website. Since at least 2015,

Mozaico has engaged in a pattern and practice of copying New Ravenna’s unique mosaic tile

designs and passing them off as their own without New Ravenna’s permission. Despite multiple
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warnings from New Ravenna’s counsel—and even a written agreement by Mozaico to demand

this practice—Mozaico continues to willfully and intentionally infringe New Ravenna’s valuable

intellectual property.

       3.      New Ravenna has created and copyrighted several of its popular mosaic tile

designs. As a result, New Ravenna is the owner of all copyrights in the designs that are the

subject of this lawsuit. Since the creation of its copyright mosaic tile designs, New Ravenna has

manufactured, distributed, advertised, publicly displayed, and sold its copyrighted designs and

achieved great success as one of the leading designers and manufacturers of mosaic tile designs

in the United States. New Ravenna advertises and promotes its designs on its website and

through its distribution network. New Ravenna owns the federal registrations for the copyrighted

works at issue in this lawsuit.

       4.      New Ravenna seeks all remedies afforded by the United States Copyright Act of

1976, as amended (the “Copyright Act”), 17 U.S.C. §§ 101 et seq., including preliminary and

permanent injunctive relief, statutory damages, Defendant's profits from Defendant's willfully

infringing conduct, reasonable attorney fees, and other monetary relief.

                                  JURISDICTION AND VENUE
       5.      This Court has jurisdiction over this copyright infringement action pursuant to 28

U.S.C. §§ 1331 and 1338(a), and pursuant to the principles of supplemental jurisdiction under 28

U.S.C. § 1367. This Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1332,

because the citizenship of the parties is completely diverse and the amount in controversy

exceeds $75,000.

       6.      This Court has personal jurisdiction over Defendant for multiple reasons. First,

Defendant has intentionally and willfully infringed the mosaic tile designs developed, owned,

and copyrighted by a company operating in Virginia, that is a Virginia domestic limited liability


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company, and that has its principal location in Virginia. Moreover, it has done this on multiple

occasions since 2015, knowing that it is targeting and infringing the intellectual property rights

of a Virginia entity. Second, on information and belief, Defendant has marketed its infringing

products to customers in the Commonwealth of Virginia through its own website and third-party

websites that are likely to be visited by Virginia residents, including Instagram, Facebook, Etsy,

Houzz, X, and others. Finally, Defendant voluntarily entered into a contract with Plaintiff, a

Virginia limited liability company.

        7.     Venue is proper in this district pursuant to 28 U.S.C. § 1400(a), because this is a

judicial district in which the Defendant may be found, and this Court has personal jurisdiction

over the Defendant. Additionally, Venue is proper in this district under 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claim occurred in this

district.

                                             PARTIES

        8.     Plaintiff is a Virginia limited liability company whose principal place of business

is in Exmore, Virginia. Plaintiff is a citizen of the Commonwealth of Virginia.

        9.     On information and belief, Defendant is a corporation that is incorporated in the

State of Delaware and has its principal place of business in Naperville, Illinois.

                                              FACTS

I.      NEW RAVENNA’S COPYRIGHTED DESIGNS

        10.    New Ravenna is America’s premier designer and manufacturer of ceramic, stone,

and glass mosaic tiles for both residential and commercial installations. New Ravenna mosaic

tile designs are sold through nearly 200 exclusive designer showrooms across the country and

internationally. New Ravenna mosaics have been featured in national architectural and interior




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design magazines and are found in homes, restaurants, hotels, casinos, and businesses around the

world.

         11.   New Ravenna is the exclusive owner of all copyrights and other intellectual

property rights in the mosaic tile designs and marks that appear on the New Ravenna website at

www.newravenna.com (the “New Ravenna Website”).

         12.   As a result of New Ravenna’s exclusive and widespread advertising, use and

promotion over more than thirty years, New Ravenna’s distinctive mosaic tile designs are widely

recognized by consumers as a designation of New Ravenna’s goods and services, and New

Ravenna has developed extensive goodwill in its designs.

         13.   New Ravenna advertises and sells its designs throughout the United States and

internationally. For example, New Ravenna has a dealer network that spans thirty-seven (37)

states and four (4) countries.

         14.   Plaintiff copyrights and vigorously defends its intellectual property interest in its

designs because they are the lifeblood of its business. At issue in this case, are four designs

created and registered by New Ravenna: Chinoiserie, Reina, Avila, and Amaranth (collectively

the “Copyrighted Works”).

                                         A. CHINOISERIE

         15.   New Ravenna created three mosaic tile designs titled “Chinoiserie” in 2013 and

the design was first fixed in a tangible medium at that time. New Ravenna owns all copyrights in

the Chinoiserie designs. True and correct reproductions of the Chinoiserie designs are below:




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        16.     The Chinoiserie designs are wholly original, and New Ravenna is the exclusive

owner of all rights, title, and interest, including all copyrights, in the Chinoiserie designs.

        17.     Plaintiff is the owner of valid and subsisting United States Copyright Registration

Nos. VA0002111243, VA0002111244, and VA0002111246 for the Chinoiserie designs, all

issued by the United States Copyright Office on March 11, 2018. Attached as Exhibit A are true

and correct copies of the registration certificates for New Ravenna’s Registration Nos.

VA0002111243, VA0002111244, and VA0002111246.

        18.     New Ravenna has published the Chinoiserie designs on the New Ravenna

Website, as well as in promotional and sales materials provided to its distribution network

around the country. This promotion material, in turn, is available to end consumers who may

purchase the designs to be installed in their homes or businesses. This publication and

distribution has been a tremendous success for New Ravenna as demonstrated through its sales

of these designs to its customers.

        19.     The Chinoiserie designs are of significant value to New Ravenna because it sells

the Chinoiserie designs to customers around the country and internationally. Additionally, these

designs enhance New Ravenna’s standing and reputation in the marketplace as a leader in mosaic

tile designs.




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                                                B. REINA

        20.     New Ravenna created a mosaic design titled “Reina” in 2013 and the design was

first fixed in a tangible medium at that time. New Ravenna owns all copyrights in the Reina

design. A true and correct reproduction of the Reina design is below:




        21.     The Reina design is wholly original, and New Ravenna is the exclusive owner of

all rights, title, and interest, including all copyrights, in the Reina design.

        22.     Plaintiff is the owner of valid and subsisting United States Copyright Registration

No. VA0002164004 for the Reina design, issued by the United States Copyright Office on July

18, 2019. Attached as Exhibit B is a true and correct copy of the registration certificate for New

Ravenna’s Registration No. VA0002164004.

        23.     New Ravenna has published the Reina design on the New Ravenna Website, as

well as in promotional and sales materials provided to its distribution network around the

country. This promotion material, in turn, is available to end consumers who may purchase the

designs to be installed in their homes or businesses. This publication and distribution has been a




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tremendous success for New Ravenna as demonstrated through its sales of the design to its

customers.

        24.     The Reina design is of significant value to New Ravenna because it sells the

Reina design to customers around the country and internationally. Additionally, this design

enhances New Ravenna’s standing and reputation in the marketplace as a leader in mosaic tile

designs.

                                                C. AVILA

        25.     New Ravenna created a mosaic design titled “Avila” in 2013 and the design was

first fixed in a tangible medium at that time. New Ravenna owns any and all copyrights in the

Avila design. A true and correct reproduction of the Avila design is below:




        26.     The Avila design is wholly original, and New Ravenna is the exclusive owner of

all rights, title, and interest, including all rights under copyright, in the Avila design.

        27.     Plaintiff is the owner of valid and subsisting United States Copyright Registration

No. VA0002085265 for the Avila design, issued by the United States Copyright Office on April

19, 2017. Attached as Exhibit C is a true and correct copy of the registration certificate for New

Ravenna’s Registration No. VA0002085265.




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       28.     New Ravenna has published the Avila design on the New Ravenna Website, as

well as in promotional and sales materials provided to its distribution network around the

country. This promotion material, in turn, is available to end consumers who may purchase the

designs to be installed in their homes or businesses. This publication and distribution has been a

tremendous success for New Ravenna as demonstrated through its sales of thee designs to its

customers.

       29.     The Avila design is of significant value to New Ravenna because it sells the Avila

design to customers around the country and internationally. Additionally, this design enhances

New Ravenna’s standing and reputation in the marketplace as a leader in mosaic tile designs.

                                           D. AMARANTH

       30.     New Ravenna created a mosaic tile design titled “Amaranth” in 2022 and the

design was first fixed in a tangible medium at that time. New Ravenna owns all copyrights in the

Amaranth design. True and correct reproductions of the Amaranth design are below:




       31.     The Amaranth design is wholly original, and New Ravenna is the exclusive owner

of all rights, title, and interest, including all copyrights, in the Amaranth design.

       32.     Plaintiff is the owner of valid and subsisting United States Copyright Registration

No. VA0002321514 for the Amaranth design, issued by the United States Copyright Office on



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August 12, 2022. Attached as Exhibit D is a true and correct copy of the registration certificate

for New Ravenna’s Registration Nos. VA0002321514.

       33.     New Ravenna has published the Amaranth design on the New Ravenna Website,

as well as in promotional and sales materials provided to its distribution network around the

country. This promotion material, in turn, is available to end consumers who may purchase the

designs to be installed in their homes or businesses. This publication and distribution has been a

tremendous success for New Ravenna as demonstrated through its sales of these designs to its

customers.

       34.     The Amaranth design is of significant value to New Ravenna because it sells the

Amaranth design to customers around the country and internationally. Additionally, this design

enhances New Ravenna’s standing and reputation in the marketplace as a leader in mosaic tile

designs.

II.    Defendant's Pattern of Infringing Conduct

       35.     On information and belief, Defendant is engaged in the business of selling mosaic

tile designs through its own website and through third-party retailers, such as Amazon.com,

Etsy.com, Houzz.com, and others.

       36.     Defendant has published and reproduced the Copyrighted Works on its social

media websites and the websites of its e-commerce partners as its own unique designs to be sold

for its own profit and benefit.

       37.     Defendant's use of the Copyrighted Works is without New Ravenna’s

authorization, consent, or knowledge, and without any compensation to New Ravenna.

       38.     Since Defendant began exploiting the Copyrighted Works, it has reproduced,

offered for sale, and, on information and belief, sold the Copyrighted Works as its own and in




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direct competition with New Ravenna. On information and belief, Defendant continues to offer

the Copyrighted Works for sale on its website as its own original work.

       39.     Defendant's copying and exploitation of the Copyrighted Works was and

continues to be willful, and in disregard of, and with indifference to, the rights of Plaintiff. The

intentional, infringing conduct was undertaken to reap the creative benefit and value associated

with the Copyrighted Works. By failing to obtain Plaintiff's authorization to use the Copyrighted

Works or to compensate Plaintiff for the use, Defendant has avoided payment of license fees and

other financial costs associated with obtaining permission to exploit the Copyrighted Works, as

well as the restrictions that Plaintiff is entitled to and would place on any such exploitation as

conditions for Plaintiff's permission, including the right to deny permission altogether.

       40.     Defendant’s current infringing conduct regarding the Copyrighted Works is part

of a long history of misappropriating New Ravenna’s copyrighted mosaic tile designs for its own

profits, despite being on notice—and expressly acknowledging—that they are infringing New

Ravenna’s copyrights.

       41.     On May 12, 2015, Plaintiff's counsel sent a cease-and-desist letter to Defendant

objecting to Defendant's unauthorized reproduction, publication, and sale of New Ravenna

designs, including Reina and Avila, two of the Copyrighted Works. Attached hereto as Exhibit

E is a true and correct copy of New Ravenna’s counsel's May 12, 2015 cease-and-desist letter to

Defendant.

       42.     In response to New Ravenna’s May 12, 2015 letter, Defendant signed and

returned an agreement in which it promised “never to use the New Ravenna Designs, trade dress,

trademarks, or other intellectual property” (the “May 2015 Agreement”). Attached hereto as

Exhibit F is a true and correct copy of the May 2015 Agreement.




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       43.      Then, on January 16, 2018, Plaintiff's counsel sent another demand letter to

Defendant objecting to Defendant's unauthorized reproduction, publication, and sale of New

Ravenna designs, including Reina and Chinoiserie, two of the Copyright Works. Attached hereto

as Exhibit G is a true and correct copy of New Ravenna’s counsel's January 16, 2018 demand

letter to Defendant.

       44.      On April 6, 2020, Plaintiff’s counsel sent yet another demand letter to Defendant

objecting to Defendant's unauthorized reproduction, publication, and sale of New Ravenna

designs, including Avila, one of the Copyrighted Works. Attached hereto as Exhibit H is a true

and correct copy of New Ravenna’s counsel's April 6, 2020 demand letter to Defendant.

       45.      Once again, on October 16, 2023, Plaintiff's counsel sent yet another demand

letter to Defendant objecting to Defendant's unauthorized reproduction, publication, and sale of

New Ravenna designs, including Amaranth, one of the Copyrighted Works. Attached hereto as

Exhibit I is a true and correct copy of New Ravenna’s counsel's October 16, 2023 demand letter

to Defendant.

       46.      To date, New Ravenna has received no response to its April 2020 or October

2023 demand letters.

       47.      Despite advertising itself as an innovator in mosaic art, Defendant has instead

continued to use New Ravenna’s original and copyrighted mosaic tile designs and pass them off

as its own.

       48.      Defendant is also advertising the Amaranth design on its Facebook and Instagram

pages, stating “Step Into A World Of Vibrant Beauty! Explore This Captivating Floral Pattern

Mosaic Art & Find Yourself Lost In Its Intricate Details.” A true and correct copy of the

Instagram and Facebook posts are attached as Exhibit J.




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   49. Regarding the Chinoiserie design, Mozaico continues to advertise its infringing design on

its Instagram page. A true and correct copy of this Instagram listing is attached as Exhibit K.

       50.      Defendant also advertises infringing copies of New Ravenna’s designs on e-

commerce sites, such as Houzz. For example, Defendant is advertising a copy of New Ravenna’s

Chinoiserie design on Houzz.com. A true and correct copy of this Houzz listing is attached as

Exhibit L. Additionally, Defendant is advertising three other sizes of New Ravenna’s

Chinoiserie design for sale on Houzz.com, in addition to another Chinoiserie design. A true and

correct copy of these Houzz listings are attached as Exhibit M.

       51.      Additionally, Defendant also advertises infringing copies of New Ravenna’s

copyrighted Avila and Reina designs for sale on Houzz.com. True and correct copies of these

Houzz listings are attached as Exhibit N.

       52.      Defendant is advertising and offering infringing copies of New Ravenna’s Reina

and Avila designs as available for purchase on its website. True and correct copies of these

listings are attached as Exhibit O.

       53.      As a result of Defendant's actions described above, New Ravenna has been

directly damaged, and is continuing to be damaged, by the unauthorized reproduction and sale of

the Copyrighted Works. Defendant has never accounted to or otherwise paid New Ravenna for

its use of the Copyrighted Works.

                                       COUNT ONE
                         Federal Copyright Infringement - Chinoiserie
                                      (17 U.S.C. § 501)

       54.      New Ravenna repeats and realleges paragraphs 1 through 53 hereof, as if fully set

forth herein.




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       55.      The Chinoiserie designs are original mosaic tile designs containing copyrightable

subject matter for which copyright protection exists under the Copyright Act, 17 U.S.C. § 101,

et. seq. New Ravenna is the exclusive owner of rights under copyright in and to the Chinoiserie

designs. New Ravenna owns a valid copyright registration for the Chinoiserie designs, attached

as Exhibit A.

       56.      New Ravenna’s registration of the Chinoiserie designs creates a presumption that

the Chinoiserie copyrights are valid and enforceable.

       57.      Defendant had access to New Ravenna’s registered Chinoiserie designs through

their publication on the New Ravenna Website.

       58.      Defendant has reproduced the original elements of the registered Chinoiserie

designs and sold designs that are substantially similar to the original elements of New Ravenna’s

copyrighted Chinoiserie designs without New Ravenna’s permission. Through this unlawful

conduct and the actions alleged in this Complaint, Defendant has directly infringed New

Ravenna’s exclusive rights in the Chinoiserie designs in violation of Section 501 of the

Copyright Act, 17 U.S.C. § 501.

       59.      Defendant's infringing conduct alleged herein was and continues to be willful and

with full knowledge of New Ravenna’s rights in the Chinoiserie designs and has enabled

Defendant illegally to obtain profit therefrom.

       60.      As a direct and proximate result of Defendant's infringing conduct alleged herein,

Plaintiff has been harmed and is entitled to damages in an amount to be proven at trial. Pursuant

to 17 U.S.C. § 504(b), New Ravenna is also entitled to recovery of Defendant's profits

attributable to Defendant's infringing conduct alleged herein, including from any and all sales of

the Chinoiserie designs and an accounting of and a constructive trust with respect to such profits.




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       61.      Alternatively, New Ravenna is entitled to the maximum statutory damages

pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 for Defendant’s willful infringing

conduct, and for such other amount as may be proper pursuant to 17 U.S.C. § 504(c).

       62.      New Ravenna further is entitled to its attorneys’ fees and costs pursuant to 17

U.S.C. § 505.

       63.      As a direct and proximate result of the Defendant's infringing conduct alleged

herein, New Ravenna has sustained and will continue to sustain substantial, immediate, and

irreparable injury, for which there is no adequate remedy at law. On information and belief,

unless Defendant's infringing conduct is enjoined by this Court, Defendant will continue to

infringe the Chinoiserie designs. New Ravenna therefore is entitled to preliminary and

permanent injunctive relief restraining and enjoining Defendant's ongoing infringing conduct.

                                       COUNT TWO
                            Federal Copyright Infringement - Reina
                                      (17 U.S.C. § 501)

       64.      New Ravenna repeats and realleges paragraphs 1 through 63 hereof, as if fully set

forth herein.

       65.      The Reina design is an original mosaic design containing copyrightable subject

matter for which copyright protection exists under the Copyright Act, 17 U.S.C. § 101, et. seq.

New Ravenna is the exclusive owner of rights under copyright in and to the Chinoiserie designs.

New Ravenna owns a valid copyright registration for the Reina design, attached as Exhibit B.

       66.      New Ravenna’s registration of the Reina design creates a presumption that the

Reina copyright is valid and enforceable.

       67.      Defendant had access to New Ravenna’s registered Reina design through its

publication on the New Ravenna Website.




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         68.    Defendant has reproduced the original elements of the registered Reina design

and sold designs that are substantially similar to the original elements of New Ravenna’s

copyrighted Reina design without New Ravenna’s permission. Through this unlawful conduct

and the actions alleged in this Complaint, Defendant has directly infringed New Ravenna’s

exclusive rights in the Reina design in violation of Section 501 of the Copyright Act, 17 U.S.C.

§ 501.

         69.    Defendant’s infringing conduct alleged herein was and continues to be willful and

with full knowledge of New Ravenna’s rights in the Reina design, and has enabled Defendant

illegally to obtain profit therefrom.

         70.    As a direct and proximate result of Defendant’s infringing conduct alleged herein,

New Ravenna has been harmed and is entitled to damages in an amount to be proven at trial.

Pursuant to 17 U.S.C. § 504(b), New Ravenna is also entitled to recovery of Defendant's profits

attributable to Defendant's infringing conduct alleged herein, including from any and all sales of

the Reina design and an accounting of and a constructive trust with respect to such profits.

         71.    Alternatively, New Ravenna is entitled to the maximum statutory damages

pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 for Defendant’s willful infringing

conduct, and for such other amount as may be proper pursuant to 17 U.S.C. § 504(c).

         72.    New Ravenna further is entitled to its attorneys’ fees and costs pursuant to 17

U.S.C. § 505.

         73.    As a direct and proximate result of the Defendant's infringing conduct alleged

herein, New Ravenna has sustained and will continue to sustain substantial, immediate, and

irreparable injury, for which there is no adequate remedy at law. On information and belief,

unless Defendant's infringing conduct is enjoined by this Court, Defendant will continue to




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infringe the Reina design. New Ravenna therefore is entitled to preliminary and permanent

injunctive relief restraining and enjoining Defendant's ongoing infringing conduct.

                                       COUNT THREE
                             Federal Copyright Infringement - Avila
                                       (17 U.S.C. § 501)

       74.      New Ravenna repeats and realleges paragraphs 1 through 73 hereof, as if fully set

forth herein.

       75.      The Avila design is an original mosaic design containing copyrightable subject

matter for which copyright protection exists under the Copyright Act, 17 U.S.C. § 101, et. seq.

New Ravenna is the exclusive owner of rights under copyright in and to the Chinoiserie designs.

New Ravenna owns a valid copyright registration for the Avila design, attached as Exhibit C.

       76.      New Ravenna’s registration of the Avila design creates a presumption that the

Avila copyright is valid and enforceable.

       77.      Defendant had access to New Ravenna’s registered Avila design through its

publication on the New Ravenna Website.

       78.      Defendant has reproduced the original elements of the registered Avila design and

sold designs that are substantially similar to the original elements of New Ravenna’s copyrighted

Avila design without New Ravenna’s permission. Through this unlawful conduct and the actions

alleged in this Complaint, Defendant has directly infringed New Ravenna’s exclusive rights in

the Avila design in violation of Section 501 of the Copyright Act, 17 U.S.C. § 501.

       79.      Defendant’s infringing conduct alleged herein was and continues to be willful and

with full knowledge of New Ravenna’s rights in the Avila design, and has enabled Defendant

illegally to obtain profit therefrom.




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       80.      As a direct and proximate result of Defendant’s infringing conduct alleged herein,

New Ravenna has been harmed and is entitled to damages in an amount to be proven at trial.

Pursuant to 17 U.S.C. § 504(b), New Ravenna is also entitled to recovery of Defendant’s profits

attributable to Defendant’s infringing conduct alleged herein, including from any and all sales of

the Avila design and an accounting of and a constructive trust with respect to such profits.

       81.      Alternatively, New Ravenna is entitled to the maximum statutory damages

pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 for Defendant’s willful infringing

conduct, and for such other amount as may be proper pursuant to 17 U.S.C. § 504(c).

       82.      New Ravenna further is entitled to its attorneys’ fees and costs pursuant to 17

U.S.C. § 505.

       83.      As a direct and proximate result of the Defendant's infringing conduct alleged

herein, Plaintiff has sustained and will continue to sustain substantial, immediate, and irreparable

injury, for which there is no adequate remedy at law. On information and belief, unless

Defendant's infringing conduct is enjoined by this Court, Defendant will continue to infringe the

Avila design. New Ravenna therefore is entitled to preliminary and permanent injunctive relief

restraining and enjoining Defendant's ongoing infringing conduct.

                                      COUNT FOUR
                         Federal Copyright Infringement - Amaranth
                                     (17 U.S.C. § 501)

       84.      New Ravenna repeats and realleges paragraphs 1 through 83 hereof, as if fully set

forth herein.

       85.      The Amaranth design is an original mosaic design containing copyrightable

subject matter for which copyright protection exists under the Copyright Act, 17 U.S.C. § 101,

et. seq. New Ravenna is the exclusive owner of rights under copyright in and to the Amaranth




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design. New Ravenna owns a valid copyright registration for the Amaranth design, attached as

Exhibit D.

       86.     New Ravenna’s registration of the Amaranth design creates a presumption that

the Amaranth copyright is valid and enforceable.

       87.     Defendant had access to New Ravenna’s registered Amaranth design through its

publication on the New Ravenna Website.

       88.     Defendant has reproduced the original elements of the registered Amaranth design

and sold designs that are substantially similar to the original elements of New Ravenna’s

copyrighted Amaranth design without New Ravenna’s permission. Through this unlawful

conduct and the actions alleged in this Complaint, Defendant has directly infringed New

Ravenna’s exclusive rights in the Reptile design in violation of Section 501 of the Copyright Act,

17 U.S.C. § 501.

       89.     Defendant’s infringing conduct alleged herein was and continues to be willful and

with full knowledge of New Ravenna’s rights in the Amaranth design and has enabled Defendant

illegally to obtain profit therefrom.

       90.     As a direct and proximate result of Defendant’s infringing conduct alleged herein,

Plaintiff has been harmed and is entitled to damages in an amount to be proven at trial. Pursuant

to 17 U.S.C. § 504(b), Plaintiff is also entitled to recovery of Defendant’s profits attributable to

Defendant's infringing conduct alleged herein, including from any and all sales of the Amaranth

design and an accounting of and a constructive trust with respect to such profits.

       91.     Alternatively, New Ravenna is entitled to the maximum statutory damages

pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 for Defendant’s willful infringing

conduct, and for such other amount as may be proper pursuant to 17 U.S.C. § 504(c).




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         92.    New Ravenna further is entitled to its attorneys’ fees and costs pursuant to 17

U.S.C. § 505.

         93.    As a direct and proximate result of the Defendant's infringing conduct alleged

herein, New Ravenna has sustained and will continue to sustain substantial, immediate, and

irreparable injury, for which there is no adequate remedy at law. On information and belief,

unless Defendant's infringing conduct is enjoined by this Court, Defendant will continue to

infringe the Amaranth design. New Ravenna therefore is entitled to preliminary and permanent

injunctive relief restraining and enjoining Defendant's ongoing infringing conduct.

                                         COUNT FIVE
                                      Breach of Contract
                                    (Virginia Common Law)

         94.    New Ravenna repeats and realleges paragraphs 1 through 93 hereof, as if fully set

forth herein.

         95.    The May 2015 Agreement constitutes a valid and enforceable contract between

the New Ravenna and Defendant.

         96.    In the May 2015 Agreement, Defendant promised to cease infringing, inter alia,

New Ravenna’s Reina and Avila designs. Defendant further promised to never use any of New

Ravenna’s intellectual property ever again.

         97.    As alleged above, Defendant has breached this contractual obligation by

continuing to copy and use New Ravenna’s mosaic tile designs, including the Copyrighted

Works.

         98.    New Ravenna has been damaged as a result of Defendant’s breach of the May

2015 Agreement, because Defendant has misappropriated New Ravenna’s intellectual property




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and improperly sold this property for its benefit and to the detriment of New Ravenna. New

Ravenna’s damages to be proven at trial, on information and belief, exceed $75,000.

       WHEREFORE, New Ravenna requests judgment against Defendant as follows:

       1. That Defendant has violated Section 501 of the Copyright Act (17 U.S.C. § 501).

       2. That Defendant has breached the May 2015 Agreement and its promise to cease and

desist from using New Ravenna’s copyrighted mosaic tile designs.

       3. Granting an injunction preliminarily, and permanently enjoining the Defendant, its

employees, agents, officers, directors, attorneys, successors, affiliates, subsidiaries, and assigns,

and all of those in active concert and participation with any of the foregoing persons and entities

who receive actual notice of the Court's order by personal service or otherwise, from:

       a.      manufacturing, distributing, marketing, advertising, promoting, displaying, or

       selling or authorizing any third party to manufacture, distribute, market, advertise,

       promote, display, or sell the Copyrighted Works and any products, works, or other

       materials that include, copy, are derived from, or otherwise embody the Copyrighted

       Work; and

       b.      aiding, assisting, or abetting any other individual or entity in doing any act

       prohibited by sub-paragraph (a).

       4.      That Defendant be ordered to provide an accounting of Defendant's profits

attributable to Defendant's infringing conduct, including Defendant's profits from sales and any

other exploitation of the Copyrighted Works, and any products, works, or other materials that

include, copy, are derived from, or otherwise embody the Copyrighted Works.




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        5.      That Defendant be ordered to destroy or deliver up for destruction all materials in

Defendant's possession, custody, or control used by Defendant in connection with Defendant's

infringing conduct, including without limitation all remaining inventory of the Copyrighted

Works and any products and works that embody any reproduction or other copy or colorable

imitation of the Copyrighted Works, as well as all means for manufacturing them.

        6.      That Defendant, at its own expense, be ordered to recall any Copyrighted Works

from any distributors, retailers, vendors, or others that have distributed the Copyrighted Works

on Defendant's behalf, and any products, works, or other materials that include, copy, are derived

from, or otherwise embody the Copyrighted Works, and that Defendant be ordered to destroy or

deliver up for destruction all materials returned to it.

        7.      Awarding New Ravenna:

                a.      Defendant's profits obtained as a result of Defendant's infringing conduct,

                including but not limited to all profits from sales and other exploitation of the

                Copyrighted Works and any products, works, or other materials that include,

                copy, are derived from, or otherwise embody the Copyrighted Works, or in the

                Court's discretion, such amount as the Court finds to be just and proper;

                b.      damages sustained by New Ravenna as a result of Defendant's infringing

                conduct, in an amount to be proven at trial;

                c.      should New Ravenna so elect, statutory damages pursuant to 17 U.S.C.

                § 504(c) instead of actual damages or profits; and

                d.      New Ravenna’s reasonable attorneys’ fees and costs pursuant to 17 U.S.C.

                § 505; and



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               e.     New Ravenna’s damages, to be proven at trial, for Defendant’s breach of

               contract caused by its continued unauthorized copying and sale of New Ravenna’s

               designs, including the Copyrighted Works.

       8.      Awarding New Ravenna interest, including pre-judgment and post-judgment

interest, on the foregoing sums.

       9.      Awarding such other and further relief as the Court deems just and proper.

                                                    Respectfully Submitted,

                                                    NEW RAVENNA, LLC.

                                                    By Counsel

                                                    __/s/________________________________
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